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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



   LAAN LAY CRUICKSHANK,

          Petitioner,
                                               Criminal Case No.       8:02-CR-229-T-30EAJ
   -vs-                                            Civil Case No.      8:03-CV-2712-T-30EAJ

   UNITED STATES OF AMERICA

        Respondent.
   ______________________________/

                                               ORDER

          Before the Court is Petitioner’s Motion for Extension of Time to retain counsel and

   file a notice of appeal of the April 6, 2005 order denying the motion for collateral relief she

   filed pursuant to 28 U.S.C. § 2255 (Dkt. 22).

          Pursuant to Fed. R. App. P. 4(a)(1)(B), a litigant prosecuting an appeal in which the

   United States is a party must file a notice of appeal within sixty (60) days of the date on

   which the judgment or order appealed from is entered. See, e.g., Jester v . United States

   714 F.2d 97, 98 (11th Cir. 1983). Rule 4(a)(5) provides, in pertinent part, that “[t]he district

   court may extend the time to file a notice of appeal if . . . a party so moves no later than 30

   days after the time prescribed by this Rule 4(a) expires; . . . . [and] [n]o extension under this

   Rule 4(a)(5) may exceed 30 days after the prescribed time or 10 days after the date when

   the order granting the motion is entered, whichever is later.” Fed. R. App. P. 4(a)(5)(a) &

   (c).

          ACCORDINGLY, the Court ORDERS that:

          1. Petitioner’s Motion for Extension of Time is GRANTED (Dkt. CV 22).
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            2. Petitioner shall file her notice of appeal on or before July 6, 2005.

            DONE and ORDERED in Tampa, Florida on May 5, 2005.




   SA:jsh
   Copies furnished to:
   All Parties/Counsel of Record




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